Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 1 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 2 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 3 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 4 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 5 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 6 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 7 of 8
Case 1:95-cr-00424-WJZ Document 215 Entered on FLSD Docket 03/11/1997 Page 8 of 8
